              Case 3:07-cv-05944-JST Document 3927 Filed 07/20/15 Page 1 of 2




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15

16                                   UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA
17                                      SAN FRANCISCO DIVISION

18
     IN RE CATHODE RAY TUBE (CRT)                                Case No. 07-cv-5944-SC
19   ANTITRUST LITIGATION                                        MDL NO. 1917

20                                                               [PROPOSED] ORDER OF
     This Document Relates to:                                   DISMISSAL OF SDI DEFENDANTS
21

22   Sharp Electronics Corp., et al. v. Hitachi, Ltd., et al.,
     Case No. 13-cv-1173 SC
23
     and
24
     Sharp Electronics Corp., et al. v. Koninklijke Philips
25
     Electronics N.V., et al., Case No. 13-cv-2776 SC.
26

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28
                               [PROPOSED] ORDER OF DISMISSAL OF SDI DEFENDANTS
                                      Case Nos. 13-cv-1173-SC and 13-cv-2766-SC
                                       Master File No. 07-cv-5944, MDL No. 1917
             Case 3:07-cv-05944-JST Document 3927 Filed 07/20/15 Page 2 of 2




1           The Court, having considered the stipulation of the parties, and good cause appearing
2
     therefor, orders as follows:
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            1.      Claims asserted by Plaintiffs Sharp Electronics Corporation and Sharp
4
     Electronics Manufacturing Company of America, Inc. (collectively, “Sharp”) against
5
     Defendants Samsung SDI Co., Ltd.; Samsung SDI America, Inc.; Samsung SDI (Malaysia)
6
     Sdn Bhd.; Samsung SDI Mexico S.A. de C.V.; Samsung SDI Brasil Ltda.; Shenzhen Samsung
7
     SDI Co., Ltd.; Tianjin Samsung SDI Co., Ltd.; and Samsung SDI (Hong Kong), Ltd.
8
     (collectively, “SDI”) in the underlying actions are dismissed with prejudice pursuant to Rule
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     41(a)(2) of the Federal Rules of Civil Procedure.
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            2.      Each party shall bear its own costs and attorneys’ fees.
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     IT IS SO ORDERED.
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              DATED:                07/20   , 2015          _________________________________
                                                           UNIT




16
                                                                  HON. SAMUEL CONTI



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17                                                           UNITED STATES DISTRICT JUDGE
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18                                                                  Judge S
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                              [PROPOSED] ORDER OF DISMISSAL OF SDI DEFENDANTS
                                     Case Nos. 13-cv-1173-SC and 13-cv-2766-SC
                                      Master File No. 07-cv-5944, MDL No. 1917
